






NO. 07-01-0425-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



APRIL 15, 2004



______________________________




ALEXIUS JAMALL NELSON, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 184TH DISTRICT COURT OF HARRIS COUNTY;



NO. 833021; HONORABLE JAN KROCKER, JUDGE



_______________________________



Before QUINN and REAVIS, JJ. and BOYD, S.J. (1)

MEMORANDUM OPINION


ON REMAND FROM THE COURT OF CRIMINAL APPEALS (2)




	In our opinion on motion for rehearing of April 24, 2003, we overruled appellant's
third point contending the evidence was legally insufficient to prove he knowingly or
intentionally caused the death of the victim.  However, we sustained appellant's fifth point
of error asserting the trial court erred in permitting an absolutely disqualified juror to serve
on the jury and, accordingly, reversed and remanded the case.  On review by the Court of
Criminal Appeals, it held that the error, if any, was not preserved for review and reversed
our judgment and remanded the cause for further proceedings.  By his remaining points
of error, appellant contends (1) the trial court erred in finding the officer had probable
cause to believe he committed a felony and was about to escape under article 14.04 of the
Texas Code of Criminal Procedure, (2) the trial court erred in finding that the taint from the
illegal arrest was sufficiently attenuated to render his confession voluntary, and (4) the
evidence is factually insufficient to prove he knowingly or intentionally caused the death of
the victim.  We affirm.

	Having found the evidence was legally sufficient to support appellant's conviction
in our opinion of April 24, 2003, we now address his fourth point by which he challenges
the factual sufficiency of the evidence to prove that he knowingly or intentionally caused
the death of the victim.  In our review of the factual sufficiency of the evidence, we apply
the standard of review set out in Johnson v. State, 23 S.W.3d 1, 10-11 (Tex.Cr.App. 2000),
and set aside the verdict only if the evidence standing alone is "so weak" as to be clearly
wrong or manifestly unjust.  Also, we conduct a neutral review of all the evidence and
recognize that it is the exclusive province of the jury to determine the credibility of the
witnesses and the weight to be given their testimony.  Johnson v. State, 571 S.W.2d 170,
173 (Tex.Cr.App. 1978); Armstrong v. State, 958 S.W.2d 278, 284 (Tex.App.--Amarillo
1997, pet. ref'd).

	In addition, we also note that intent and knowledge are fact issues for the jury and
are almost always proved through evidence of the circumstances surrounding the crime. 
Manrique v. State, 994 S.W.2d 640, 649 (Tex.Cr.App. 1999), citing Robles v. State, 664
S.W.2d 91, 94 (Tex.Cr.App. 1984).  Intent may be inferred from any facts which tend to
prove its existence, including the acts, words, and conduct of the accused, the method of
committing the crime, and from the nature of wounds inflicted on the victim.  Hernandez
v. State, 819 S.W.2d 806, 810 (Tex.Cr.App. 1991), cert. denied, 504 U.S. 974, 112 S.Ct.
2944, 119 L.Ed.2d 568 (1992).

	In our prior opinion, in connection with our legal sufficiency review, we detailed the
evidence in eight separate paragraphs.  The State established that appellant was alone
with the victim when he sustained fatal injuries.  Considering the victim's size and age, the
attending circumstances, and the medical examiner's report that the victim suffered at least
13 blows to his body, including rib fractures, injuries to his head, and that intent may be
inferred, we conclude the evidence, standing alone, was not so weak as to render the
verdict clearly wrong and manifestly unjust.  Appellant's fourth point is overruled. 

	By his first point of error, appellant contends the trial court erred in finding the
officers had probable cause to believe he committed a felony and was about to escape
under article 14.04 of the Code of Criminal Procedure.  We disagree.  We apply the abuse
of discretion standard of review discussed in State v. Ballard, 987 S.W.2d 889, 891
(Tex.Cr.App. 1999) and Romero v. State, 800 S.W.2d 539, 543 (Tex.Cr.App. 1990). 
Because appellant does not challenge the finding by the trial court that both counsel
agreed that his first statement was admissible, we limit our review to appellant's second
written statement which was given after the results of the autopsy of the victim were known. 

	Focusing our attention on article 14.04, we must determine whether appellant
demonstrated the trial court abused its discretion in finding there was probable cause to
believe he had committed a felony and was about to escape.  Appellant's arrest without
a warrant was proper if exigent circumstances justified his arrest under article 14.04. 
Farrah v. State, 883 S.W.2d 674, 677 (Tex.Cr.App. 1994).  The requirements for a
warrantless arrest are (1) the person who provides the officer information must be credible;
(2) the offense must be a felony; (3) the offender must be about to escape ; and (4) there
must be no time to obtain a warrant. Crane v. State, 786 S.W.2d 338, 346 (Tex.Cr.App.
1990).  In Allridge v. State, 850 S.W.2d 471, 491 (Tex.Cr.App. 1991), in discussing the
factors which constitute reasonable conclusion of probable cause to make a warrantless
arrest, the last element discussed by the Court of Criminal Appeals was the "arresting
officers' basis for believing that a suspect would take flight if not placed in custody."  Thus,
we need not decide whether the evidence shows that appellant was in the process of
escaping but instead, the discreet question is whether it supported "the arresting officers'
basis for believing" that appellant "would take flight if not placed in custody."  

	At the conclusion of the hearing on the motion to suppress, the trial court, with
obvious precision and care, announced her findings of fact on the record.  As material
here, the trial court found:	


  	the arresting officer had received satisfactory proof from several
credible witnesses that a felony had been committed;
  	the officer had a belief that appellant was about to escape and that
there was no time to procure a warrant;
  	the requirements of article 14.04 of the Code of Criminal Procedure
were met;
  	appellant was leaving the scene to avoid confrontations by persons
who had learned the results of the autopsy report;
  	based upon the officer's testimony that appellant was attempting to
escape;
  	appellant's testimony that he did not understand the warnings given
to him was not credible;
  	appellant knowingly, intelligently, and voluntarily waived the rights
regarding the statement; and
  	the statement given after the results of the autopsy report became
public knowledge was voluntarily given.    



	Appellant admits that the family of the victim leaked the results of the autopsy.  Also,
admitting the evidence does show that he was trying to avoid an assault by angry family
members, appellant argues that it does not support the trial court's finding that he was
trying to escape from police.  We disagree.  An intention to escape from angry family
members is not inconsistent with an intention to also escape from the police.  Obviously,
when he became aware that the family members had learned the findings of the autopsy
report, no doubt, he also concluded that the police would not be far behind.  Thus, we
conclude the trial court did not abuse its discretion in overruling appellant's motion to
suppress.  Appellant's first point of error is overruled.  Our disposition of appellant's first
point pretermits our consideration of his second point.

	Accordingly, the judgment of the trial court is affirmed.

							Don H. Reavis  

							    Justice



Do not publish.


	  
1. John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by assignment.
2. Tex. R. App. P. 47.2(a).


